                                 Case 18-21587-PGH                    Doc        Filed 09/23/19               Page 1 of 6
  Fill in this information to identify the case:

  Debtor 1: Altagracia Tavarez

  United States Bankruptcy Court for the: Southern District of Florida (Fort Lauderdale)

  Case number: 18-21587-JKO

  Official Form 410S1
  Notice of Mortgage Payment Change                                                                                                           12/15
  If the debtor’s plan provides for payment and postpetition contractual installments on your claim secured by a security interest in the
  debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
  as a supplemental to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor:        U.S. Bank National Association, as                      Court claim no.: 9-1
                         trustee, on behalf of the holders of the
                         Credit Suisse First Boston Mortgage
                         Securities Corp., Home Equity Pass
                         Through Certificates, Series 2007-1

 Last four digits of any number                                                   Date of payment change:
 you use to identify the debtor’s         0656                                    Must be at least 21 days after date of
                                                                                  this notice
                                                                                                                                 11/01/2019
 account:

                                                                                  New total payment:                           $1,106.44
                                                                                  Principal, interest, and escrow, if any


  Part 1: Escrow Account Payment Adjustment
    Will there be a change in the debtor’s escrow account payment?

    ☐ No
    ☑ Yes      Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the
               basis for the change. If a statement is not attached, explain why:

             Current escrow payment:      $465.77                         New escrow payment:         $411.82




  Part 2: Mortgage Payment Adjustment
    Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor's variable-rate note?

    ☑ No
    ☐ Yes     Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
              attached, explain why:

              Current interest rate:                                    %        New interest rate:                             %

              Current principal and interest payment: $                        New principal and interest payment: $

  Part 3: Other Payment Change
    Will there be a change in the debtor’s mortgage payment for a reason not listed above?

    ☑ No
    ☐ Yes Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
         agreement. (Court approval may be required before the payment change can take effect.)

              Reason for change:

              Current mortgage payment: $                                         New mortgage payment: $



Official Form 410S1                                     Notice of Mortgage Payment Change
                                 Case 18-21587-PGH                  Doc          Filed 09/23/19          Page 2 of 6



          Debtor 1: Altagracia Tavarez                                   Case number: 18-21587-JKO

Part 4: Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.

Check the appropriate box.

        I am the creditor.          X       I am the creditor’s authorized agent.
(Attach copy of power of attorney, if any.)


I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge, information, and
reasonable belief.


        /s/ Ella Roberts, Esq.                                                                    Date    09/23/2019
        Signature

                         Ella                                      Roberts
Print                    First Name              Middle Name       Last Name                      Title Attorney For Secured Creditor


Company                 Albertelli Law

Address                 P.O. Box 23028
                        Number        Street

                        Tampa                    FL                  33623
                        City                     State                Zip Code

Contact Phone: 813-221-4743              Email: bkfl@albertellilaw.com




          Official Form 410S1                         Notice of Mortgage Payment Change
                  Case 18-21587-PGH          Doc     Filed 09/23/19      Page 3 of 6


                                    CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing document to be served
upon the following parties of interest either via pre-paid regular US Mail or via electronic
notification to the parties on the attached service list, this 23rd day of September, 2019.
       .


SERVICE LIST

Altagracia Tavarez
7825 Alhambra Boulevard
Miramar, FL 33023-5821

Robert Sanchez, Esq
355 W 49 St.
Hialeah, FL 33012

Robin R Weiner
www.ch13weiner.com
POB 559007
Fort Lauderdale, FL 33355

Office of the US Trustee
51 S.W. 1st Ave.
Suite 1204
Miami, FL 33130
                                                              /s/ Ella Roberts, Esq.
                                                              Ella Roberts, Esq.
                                                              FBN 0075943
                                                              813-221-4743
                                                              Albertelli Law
                                                              Attorney for Secured Creditor
                                                              PO Box 23028
                                                              Tampa, FL 33623
                                                              Facsimile: (813) 221-9171
                                                              bkfl@albertellilaw.com




Official Form 410S1               Notice of Mortgage Payment Change
Case 18-21587-PGH   Doc   Filed 09/23/19   Page 4 of 6
                              Case 18-21587-PGH               Doc      Filed 09/23/19      Page 5 of 6


            B. Escrow Reserve Requirements – RESPA/Federal law allows lenders to maintain a maximum of two months
               reserve in your escrow account, commonly referred to as a cushion. However, based on state, investor, or
               modification requirements your cushion requirement may be less than the Federal requirement. Your account has
               a monthly reserve requirement of 0 months.

            C. Escrow Surplus – The actual beginning balance on your account in Tables 3 and 4 is $7,081.93. According to
               the projections shown in Tables 3 and 4, your required beginning balance should be $1,647.24.

                 This means you have a surplus of $5,434.69. If your account meets minimum criteria defined below, we will send
                 a refund check for this surplus under separate cover for the full or partial refund¹.

                 Please be advised that this is not an attempt to collect any pre-petition debt, which we have previously claimed on
                 the Proof of Claim.

                 Your unpaid pre-petition escrow amount is $0.00. This amount has been removed from the projected starting
                 balance.

                 Your total refund is $5,434.69, which is determined by subtracting your required beginning escrow account
                 balance from your actual beginning escrow account balance. $7,081.93 - $1,647.24 = $5,434.69.

Table 3 below shows a detailed history of your escrow account transactions since your last analysis. An asterisk (*) indicates a
difference from a previous estimate in either the date or the amount. The letter E beside an amount indicates that the payment or
disbursement has not yet occurred but is estimated to occur as shown prior to the effective date of this new analysis. Please
note, if the payment or disbursement month shown in table 3 is the same month of this completed analysis and there is an
asterisk (*) or the letter E next to the amount, the disbursement or amount may have already occurred by the time you receive this
analysis statement and the actual amount may differ from the amount reflected below.

Table 3
                                                             Payments                    Disbursements
Month                     Description             Estimate           Actual        Estimate         Actual        Total Balance
History                   Beginning Balance                                                                         $-11,695.16
October 2018              HAZARD INS                465.77             0.00 E       3,667.00           0.00   E      -11,695.16
November 2018             COUNTY TAX                465.77             0.00 E       1,922.22       2,004.36   E      -13,699.52
December 2018                                       465.77             0.00 E           0.00           0.00   E      -13,699.52
January 2019                                        465.77             0.00 E           0.00           0.00   E      -13,699.52
February 2019                                       465.77             0.00 E           0.00           0.00   E      -13,699.52
March 2019                                          465.77         6,310.44 E           0.00           0.00   E        -7,389.08
April 2019                                          465.77         1,816.75 E           0.00           0.00   E        -5,572.33
May 2019                                            465.77         1,366.94 E           0.00           0.00   E        -4,205.39
June 2019                 HAZARD INS                465.77         1,366.94 E           0.00       3,781.40   E        -6,619.85
July 2019                                           465.77        12,304.47 E           0.00           0.00   E         5,684.62
August 2019                                         465.77           465.77 E           0.00           0.00   E         6,150.39
September 2019                                      465.77           465.77 E           0.00           0.00   E         6,616.16
October 2019                                          0.00           465.77 E           0.00           0.00   E         7,081.93

Table 4 below shows a detailed projection of future estimated escrow activity of your escrow account transactions since your last
analysis as well as a projection of future escrow activity. The double asterisk (**) next to the required balance indicates the lowest
projected balance in the analysis. This low balance is used to determine the surplus or shortage in your escrow account at the
time of this analysis.

Table 4
                                                   Payments         Disbursements      Beginning          Required
Month                     Description              Estimate            Estimate         Balance            Balance
                          Starting Balance                                             $7,081.93         $1,647.24
November 2019             COUNTY TAX                  411.82            2,004.36        5,489.39             54.70
December 2019                                         411.82                0.00        5,901.21            466.52
January 2020                                          411.82                0.00        6,313.03            878.34
February 2020                                         411.82                0.00        6,724.85          1,290.16
March 2020                                            411.82                0.00        7,136.67          1,701.98
April 2020                                            411.82                0.00        7,548.49          2,113.80
May 2020                                              411.82                0.00        7,960.31          2,525.62
June 2020                 HAZARD INS                  411.82            2,937.44        5,434.69              0.00**
July 2020                                             411.82                0.00        5,846.51            411.82
August 2020                                           411.82                0.00        6,258.33            823.64
September 2020                                        411.82                0.00        6,670.15          1,235.46
October 2020                                          411.82                0.00        7,081.97          1,647.28


                                                             See reverse side
                               Case 18-21587-PGH          Doc      Filed 09/23/19      Page 6 of 6


                                                       ¹ Refund Information

Although our analysis determined an overage in your escrow account, a check may not be issued. This may be due to one or
more of the following.

    •    An overage refund that exceeds your current escrow balance may not be refunded in one check. Funds currently
        available and held in escrow will be refunded, but any remaining difference between the previous refund and the full
        refund will be sent once the funds become available in the escrow account. If the additional funds are not available in the
        escrow account within 30 days of this statement, please contact us to review your account to determine if any additional
        refund is available to be sent. The refund amount from statement is a projection of the funds that will be in your account
        in the future, not the amount of the funds that are currently in your account.
    •    Overages are not refunded when an account is delinquent. Please review your payment history and due date for your
        account. If it is 30 days or greater past due, an escrow refund will not be sent until the payments have been made. Once
        your mortgage payments are current, please request a refund of your escrow overage amount. Your refund amount may
        vary at that time from the amount listed on this statement as additional escrow activity may change the amount eligible for
        a refund.


If your account is set up on a monthly automatic withdrawal payment option, your monthly payment withdrawal amount will be
updated according to the adjusted payment above once the escrow analysis becomes effective. If you have any questions or
concerns, please contact our Customer Service Department. Our toll-free number is 800-258-8602 and representatives are
available Monday through Thursday between the hours of 8 a.m. and 11 p.m., Friday from 8 a.m. to 9 p.m., and Saturday from 8
a.m. to 2 p.m., Eastern Time. You may also visit our website at www.spservicing.com.

Sincerely,

Select Portfolio Servicing, Inc.

   Esta carta contiene información importante concerniente a sus derechos. Por favor, traduzca esta carta. Nuestros
representantes bilingües están a su disposición para contestar cualquier pregunta. Llamenos al numero 800-831-0118 y
                                            seleccione/marque la opción 2.

                            This information is intended for informational purposes only and is not
                                           considered an attempt to collect a debt.




                                                         See reverse side
